 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.974   Page 1 of 12
 1                                    STATE OF MICHIGAN

 2                    IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

 3                                    CRIMINAL DIVISION

 4

 5       THE PEOPLE OF THE
         STATE OF MICHIGAN,
 6
                               Plaintiff,         Case No. 16-2194
 7
         vs.                                      HON. CATHERINE L. HEISE
 8
         JOEL CASTRO,
 9
                               Defendant.
10                                            /

11                                          MOTION

12      Before the HON. CATHERINE L. HEISE, Circuit Court Judge,

13      Detroit, Michigan - Monday, May 23, 2016.

14      APPEARANCES:

15      MARVIN COOKE, ESQ.(P55351)
            Appearing on behalf of the People
16

17      SOLOMON RADNER, ESQ.(P73653)
            Appearing on behalf of Defendant
18

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20      Reported By:

21      KEVA M. JACKSON - OFFICIAL COURT REPORTER - CSR 5964

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 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.975   Page 2 of 12
 1                                        I N D E X

 2                                                            Page
        Proceeding                                              3
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11      EXHIBITS:                                           OFFR'D         REC'D
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 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.976   Page 3 of 12
 1                                  Monday, May 23, 2016

 2                                  Detroit, Michigan

 3                                  At or about 8:56 a.m.

 4                        THE CLERK:    Calling case number 16-2194.

 5                        People of the State of Michigan versus Joel

 6            Castro.

 7                        This matter is here before the Court today for

 8            a motion hearing, please.

 9                        MR. COOKE:    Good morning, judge.

10                        Marvin Cooke appearing on behalf of the

11            People.

12                        MR. RADNER:     Good morning, your Honor.

13                        Solomon Radner appearing on behalf of

14            Mr. Castro who is present and standing to go my left.

15                        THE COURT:    Good morning, counselors, and good

16            morning, Mr. Radner.

17                        THE DEFENDANT:      Good morning.

18                        MR. RADNER:     Judge, I have three motions

19            pending in front of the Court; I have a Motion to Remand

20            since I was not permitted to call witnesses, I have a

21            Motion to Quash the bindover and to dismiss the case,

22            and I also have a Motion to quash the initial warrant.

23            I think the prosecutor's not going to oppose, correct me

24            if I'm wrong.     I don't think he's going to take a

25            position on my Motion to Dismiss because have I

                                          3
 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.977   Page 4 of 12
 1            documentation here I did not file with the Court, and

 2            I'd much rather not file it with the Court, that allows

 3            my client to have up to 36 plants.           He has two patients,

 4            he has plant possession, and he also has plant

 5            possession for himself as his own patient.           He was found

 6            with 26 or 27 plants which is, obviously, well under the

 7            36.     If the Court's going to grant that motion,

 8            obviously, the other two are denied as moot.

 9                         THE COURT:    Mr. Cooke, does the extent of the

10            defendant's permission under the Medical Marijuana Act

11            encompass the particular facts of this case?

12                         MR. COOKE:    It does, your Honor.      And I was

13            shown documentation this morning indicating that the

14            defendant is a registered caregiver for two patients and

15            based upon my understanding of the Michigan Medical

16            Marijuana Act he would have been entitled to at least

17            the possession of 36 plants.

18                         THE COURT:    Yeah, I think up to 36.

19                         MR. COOKE:    So the People take no position,

20            judge.    Leave it to the Court's discretion.

21                         THE COURT:    Well, then I will grant the

22            motion.    The facts of this case fall within the scope of

23            your client's license so I'll go ahead and dismiss the

24            case.

25                         MR. RADNER:    Can I ask that the order is clear

                                          4
 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.978    Page 5 of 12
 1            that the other two motions are not denied on the merits

 2            but are denied as moot?

 3                        THE COURT:    As moot.

 4                        MR. RADNER:     Thank you.

 5                        THE COURT:    Any objections, Mr. Cooke?

 6                        MR. COOKE:    None, Judge.

 7                        THE COURT:    All right.     So I'm going to grant

 8            your Motion to Dismiss -- I'm going to grant your Motion

 9            to Dismiss that's how you filed it.

10                        MR. RADNER:     Correct.

11                        THE COURT:    But the Motion for Remand and the

12            Motion to Quash the initial search warrant are not

13            decided because they're moot.

14                        MR. RADNER:     Thank you so much.

15                        THE COURT:    Thank you, Mr. Radner.          Thank you,

16            Mr. Castro.

17                         (Proceeding concluded at 9:00 a.m.)

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 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.979   Page 6 of 12
 1                                 C-E-R-T-I-F-I-C-A-T-E

 2      STATE OF MICHIGAN      )

 3                             )ss.

 4      COUNTY OF WAYNE        )

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 7                                    I, Keva Jackson, do hereby certify

 8      that the foregoing pages, 1 through 6, inclusive, comprise a

 9      true and correct transcription of the proceedings reported on

10      May 23, 2016, in the above-entitled matter,

11      Case No. 16-2194.

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19                                         KEVA M. JACKSON, CSR 5964
                                           Official Court Reporter
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 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.980   Page 7 of 12
 1                                    STATE OF MICHIGAN

 2                    IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

 3                                    CRIMINAL DIVISION

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21      KEVA M. JACKSON - OFFICIAL COURT REPORTER - CSR 5964

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 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.981   Page 8 of 12
 1                                        I N D E X

 2                                                            Page
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11      EXHIBITS:                                           OFFR'D         REC'D
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 1                                  Monday, May 23, 2016

 2                                  Detroit, Michigan

 3                                  At or about 8:56 a.m.

 4                        THE CLERK:    Calling case number 16-2194.

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 6            Castro.

 7                        This matter is here before the Court today for

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10                        Marvin Cooke appearing on behalf of the

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12                        MR. RADNER:     Good morning, your Honor.

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15                        THE COURT:    Good morning, counselors, and good

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17                        THE DEFENDANT:      Good morning.

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 1             documentation here I did not file with the Court, and

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21                          THE COURT:    Well, then I will grant the

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24             case.

25                          MR. RADNER:   Can I ask that the order is clear

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 1             that the other two motions are not denied on the merits

 2             but are denied as moot?

 3                         THE COURT:    As moot.

 4                         MR. RADNER:    Thank you.

 5                         THE COURT:    Any objections, Mr. Cooke?

 6                         MR. COOKE:    None, Judge.

 7                         THE COURT:    All right.     So I'm going to grant

 8             your Motion to Dismiss -- I'm going to grant your Motion

 9             to Dismiss that's how you filed it.

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13             decided because they're moot.

14                         MR. RADNER:    Thank you so much.

15                         THE COURT:    Thank you, Mr. Radner.         Thank you,

16             Mr. Castro.

17                         (Proceeding concluded at 9:00 a.m.)

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 Case 2:16-cv-12581-AJT-EAS ECF No. 54-21 filed 06/16/17   PageID.985   Page 12 of 12
 1                                  C-E-R-T-I-F-I-C-A-T-E

 2       STATE OF MICHIGAN     )

 3                             )ss.

 4       COUNTY OF WAYNE       )

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                                           Official Court Reporter
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